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 6
                         UNITED STATES DISTRICT COURT
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                                 EASTERN DISTRICT OF CALIFORNIA
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 9    CAROL R. WEGHORST SHAW,                         Case No. 1:15-cv-01409-SKO

10                      Plaintiff,                    ORDER GRANTING PLAINTIFF’S
                                                      APPLICATION TO PROCEED IN
11           v.                                       FORMA PAUPERIS

12                                                    (Doc. 2)
      CAROLYN W. COLVIN,
13    Acting Commissioner of Social Security,
14                   Defendant.
      _____________________________________/
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            Plaintiff Carol Weghorst Shaw filed a complaint on September 17, 2015, along with an
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     application to proceed in forma pauperis pursuant to 28 U.S.C. § 1915. (Docs. 1, 2.) Plaintiff’s
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     application demonstrates entitlement to proceed without prepayment of fees.
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            Accordingly, IT IS HEREBY ORDERED that:
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            1.     Plaintiff’s application to proceed in forma pauperis is GRANTED;
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            2.     The Clerk of Court is DIRECTED to issue a summons; and
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            3.     The United States Marshal is DIRECTED to serve a copy of the complaint,
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                   summons, and this order upon the defendant as directed by the plaintiff.
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     IT IS SO ORDERED.
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26      Dated:    September 18, 2015                             /s/ Sheila K. Oberto
                                                     UNITED STATES MAGISTRATE JUDGE
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